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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

M.M., a minor, and
ASHLEY MCDOWEL,
Plaintiff

v.                                         Case No.: 8:21-cv-01206-VMC-AAS

UNITED STATES OF AMERICA,
Defendant.
________________________________/

      PLAINTIFF’S UNOPPOSED MOTION FOR LEAVE TO FILE MOTION TO
     APPROVE MINOR SETTLEMENT AND REPORT OF GUARDIAN AD LITEM
                  UNDER SEAL UNDER LOCAL RULE 1.11(e)

       Plaintiffs, M.M., a minor, and ASHLEY MCDOWEL, by and through undersigned

counsel hereby files this Motion to File Under Seal Under Local Rule 1.11(e) and states:

       1. This is a medical malpractice case brought under the Federal Tort Claims Act

          claiming injuries sustained by M.M., a minor, alleged to have been caused by the

          medical negligence of the Defendant.

       2. A proposed settlement has been reached in this matter. This settlement has been

          reviewed by a guardian ad litem for the purpose of determining whether the

          settlement is in the best interest of M.M., a minor.

       3. In order to seek this Court’s approval of the proposed settlement of this case, a

          Motion to Approve Minor Settlement and the Report of the Guardian Ad Litem

          must be filed.

       4. The anticipated Motion to Approve Minor Settlement and the Report of the

          Guardian ad Litem must be filed under seal in order to protect sensitive and

          personal information concerning the financial condition, medical condition, and
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         identity of the minor Plaintiff, M.M. The Motion and GAL report provide this

         Court with significantly detailed information regarding the minor’s cognitive and

         physical disabilities and the manner in which the proceeds of any settlement will

         be managed. Given the extent of information sought to be protected in these items,

         partial sealing, redaction or means other than sealing would not be an effective to

         protect this information as it would in essence require the redaction of the entirety

         of these documents.

      5. Plaintiffs request that these items remain under seal for the entire duration of time

         permitted under law, and at least until the minor reaches the age of majority.

      6. The law supports the sealing of these items. There exists extraordinary justification

         for the sealing of these items as stated in Local Rule 1.11(e) as it involves the

         “protection of a minor or another especially vulnerable person”. The sealing in

         this case will serve to protect the interests of M.M. who is presently five years old

         and suffers from serious medical conditions detailed within the documents sought

         to be sealed. See Nutt v. Royal Caribbean Cruises, Ltd., 2021 WL 7502573 (S.D.

         Florida 2021)(Sealing of Motion to Approve Minor Settlement in case involving

         injuries to minor was approved); U.S. v. Pollock, 2014 WL 5782778 (M.D.

         Florida)(Reports sealed due to serious medical condition of Defendant). Given

         M.M's status as a significantly disabled minor, M.M.’s interests in maintaining the

         confidential nature of this information outweighs any minimal interest the public

         may have in this information. See J.C. by and through M.C. V. School Board of St.

         John’s County, Florida, 2015 WL 13735451 (M.D. Florida 2015)
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      7. Should this Motion be granted, Plaintiffs further request that the persons

          authorized to retrieve the sealed documents be limited to the counsel of record in

          this case: for the Plaintiffs Christa M. Carpenter, RN, Esq. and Eric P. Czelusta,

          BCS, Esq. 3411 Alternate 19, Suite A, Palm Harbor, FL 34683 Telephone No 727-

          281-4357; email epc@cclawfl.com and cmc@cclawfl.com and for the Defendant

          Stephanie S. Leuthauser, Assistant United States Attorney, 400 North Tampa St.,

          Suite 3200, Tampa, Florida 33602,               Telephone No. (813) 274-6000,

          Stephanie.Leuthauser@usdoj.gov.

      8. The proposed items to be sealed are not attached per the requirements of Local

          Rule 1.11(b)(7) but available for in camera review by this Court upon request.

      9. Pursuant to the requirements of Local Rule 3.01(g), the undersigned counsel

          hereby certifies that he has conferred with counsel for the Defendant who has

          confirmed that the Defendant has no opposition or objection to the relief sought in

          this Motion.

      WHEREFORE, Plaintiffs M.M. and ASHLEY MCDOWEL, respectfully requests

this Court enter an Order allowing the Plaintiff’s Motion to Approve Minor Settlement and

the Report of Guardian Ad Litem to be filed under seal.

                                          Respectfully submitted,

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                                          Attorneys for Plaintiffs

                                          By: /s/ Eric P. Czelusta________
                                                 Eric P. Czelusta, BCS, Esq.

                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that the foregoing Plaintiff’s Motion to Approve Minor

Settlement was furnished via email on September 9, 2022, to the following:

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                                          By: /s/ Eric P. Czelusta________
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